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USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELEC TRONICALLY FILED
UNITED STATES OF AMERICA, DOC #:
DATE FILED: _ 10/27/2021
-against-
JASON WARD, 20 Cr. 272 (AT)

Defendant. ORDER

 

 

ANALISA TORRES, District Judge:

A sentencing hearing is scheduled in this matter for November 4, 2021, at 1:00 p.m.
The hearing shall proceed in Courtroom 15D of the United States Courthouse, 500 Pearl Street,
New York, New York 10007. In light of the ongoing COVID-19 pandemic, all individuals
seeking entry to 500 Pearl Street must complete a questionnaire and have their temperature taken
before being allowed entry into the courthouse. To gain entry to 500 Pearl Street, follow the
instructions provided here:

https://www.nysd.uscourts.gov/sites/default/files/2020-10/QR%20Sign%20-
%20Public Media v.5.pdf.

 

 

All individuals must practice social distancing at all times in the courthouse. Individuals
must wear a mask that covers their nose and mouth at all times in the courthouse. Bandanas,
gaiters, and masks with valves are not permitted.

By October 29, 2021, at 3:00 p.m., counsel must advise the Court of how many
spectators will attend the proceeding. The parties must advise the Court by the same date how
many individuals will be seated at counsel’s tables. Special accommodations may need to be
made if more than ten unvaccinated spectators are expected to attend, or more than three
unvaccinated individuals are expected to be seated at each counsel’s table.

SO ORDERED.
Dated: October 27, 2021
New York, New York

ANALISA TORRES
United States District Judge

 
